Case 2:23-cr-00197-JS-AYS Document 40 Filed 10/05/23 Page 1 of 2 PagelD #: 244

FILED
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U.S. DISTRICT COURT E.B.NLY,
AXB
F. #2022R01030 * 007052023 «
UNITED STATES DISTRICT COURT LONG ISLAND OFFICE
EASTERN DISTRICT OF NEW YORK
we eee ee eee ee eee x
UNITED STATES OF AMERICA NOTICE OF MOTION
- against - Criminal Docket No. 23-CR-197 (JS) (AYS)
NANCY MARKS,
Defendant.
wee ee ee eee ee eee eee XxX

PLEASE TAKE NOTICE that the undersigned will move this Court, before the

Honorable Joanna Seybert, United States District Judge, for leave to file an information upon
Case 2:23-cr-00197-JS-AYS Document 40 Filed 10/05/23 Page 2 of 2 PagelD #: 245

the defendant NANCY MARKS’s waiver of indictment pursuant to Rule 7(b) of the Federal
Rules of Criminal Procedure.

Dated: Central Islip, New York
October 5, 2023

BREON PEACE

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Eastern District of New York
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COREY AMUNDSON
Chief, Public Integrity Section
U.S. Department of Justice

By: _//
Jacob Steiner
John Taddei
Trial Attorneys, Public Integrity Section

Cc: Clerk of the Court
Raymond G. Perini, Esq.
